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 1   McGREGOR W. SCOTT
     United States Attorney
 2   LAUREL J. MONTOYA
     Assistant U.S. Attorney
 3   3654 Federal Building
     1130 "O" Street
 4   Fresno, California 93721
     Telephone: (559) 498-7272
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 8                        IN THE UNITED STATES DISTRICT COURT FOR THE

 9                                 EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                        )     NO. 1:04-cr-005327 AWI
                                                      )
12                          Plaintiff,                )     STIPULATION TO CONTINUE MOTIONS
                                                      )     HEARING AND ORDER THEREON
13                  v.                                )
                                                      )
14   JOSE MARIA VALENCIA-VALENCIA,                    )
                                                      )     DATE: February 17, 2006
15                          Defendant.                )     TIME: 9:00 a.m.
                                                      )     JUDGE: Anthony W. Ishii
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17           IT IS HEREBY STIPULATED by and between the parties hereto, and through their

18   respective counsel, that the motions/trial setting hearing currently set for February 17, 2006 may

19   be continued to March 1, 2006 at 9:00 a.m. The continuance is necessary due to a prior

20   commitment on behalf of the court and counsel.

21           The parties agree that the delay resulting from the continuance shall be excluded in the

22   interests of justice, including but not limited to, the need for the period of time set forth herein for

23   //

24   //

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27   //

28   //

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        Case 1:04-cr-05327-AWI Document 375 Filed 02/21/06 Page 2 of 2



 1   effective defense preparation pursuant to 18 U.S.C. §§ 3161(h)(1)(F), 3161(h)(8)(A), and

 2   3161(h)(8)(B)(i).

 3   Dated: February 15, 2006                                   McGREGOR W. SCOTT
                                                                United States Attorney
 4

 5                                                              By: /s/ Laurel J. Montoya
                                                                LAUREL J. MONTOYA
 6                                                              Assistant U.S. Attorney

 7   Dated: February 15, 2006

 8                                                              /s/ J.M. Irigoyen
                                                                J.M. IRIGOYEN
 9                                                              Attorney for the Defendant

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11                              ORDER CONTINUING HEARING DATE

12          IT IS SO ORDERED. Time is excluded in the interests of justice pursuant to 18 U.S.C. §§

13   3161(h)(1)(F), 3161(h)(8)(A), and 3161(h)(8)(B)(I).

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15   IT IS SO ORDERED.

16   Dated:    February 17, 2006                      /s/ Anthony W. Ishii
     0m8i78                                     UNITED STATES DISTRICT JUDGE
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